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 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      Veronica                       Garcia         Case #:     19-13115-EEB
                First Name    Middle Name       Last Name

 Debtor 2:                                                    Chapter:    7
                First Name    Middle Name         Last Name

Local Bankruptcy Form 9013-1.4
Movant’s Certificate of Contested Matter and Request for Hearing
Complete applicable sections.

 Part 1 Certificate and Request for Hearing

On June 13, 2019, Harvey Sender, Trustee (the “Movant”), filed a motion or application pursuant to L.B.R. 2002-1 or
9013-1 entitled, Trustee’s Objection to Debtor’s Claim of Homestead Exemption at docket no. 34. Movant hereby certifies
that the following is true and correct:

    1. Service of the Motion, Notice, and Proposed Order were timely made on all parties against whom relief is sought
       and those otherwise entitled to service pursuant to the Federal Rules of Bankruptcy Procedure and the Court’s
       Loal Rules as is shown on the Certificate of Service, L.B.F. 9013-1.2, previously filed with the Motion on June 13,
       2019 (Docket No. 36).
    2. Mailing or other service of the Notice was timely made on all other creditors and parties in interest pursuant to
       L.B.R. 2002-1 and 9013-1 (or in the manner permitted by Court order, a copy of which is attached), as is shown
       on the Certificate of Service, L.B.F. 9013-1.2, previously filed with the Notice on June 13, 2019.
    3. Objections and requests for hearing on the motion/application have been filed by the following party/parties:
       a. Veronica Garcia, docket no.47;
    4. The docket numbers for each of the following relevant documents are:
       a. the Motion and all documents attached thereto and served therewith, docket no.34;
       b. the Notice, docket no. 35;
       c. the Certificate of Service of the Motion and the Notice, docket nos. 36;
       d. the Proposed Order, docket no. 34.
    5. Movant made a good faith effort to resolve this matter without the necessity of a hearing in the following manner:
       Trustee’s attorney engaged in telephonic discussion with the attorney for the Debtor.
    6. Resolution of this contested matter may benefit from a preliminary hearing to resolve the following disputed legal
       issues: The Trustee argues that the Debtor does not occupy the property as her full-time residence, and is not
       entitled to a homestead exemption in the property. The Debtor argues that, while she works out of town
       frequently, she has maintained the property as her residence, and intended to make the property her permanent
       residence before the foreclosure proceeding occurred. The court may need to determine if the Debtor’s
       relationship to the property merits application of the homestead exemption.
    7. Resolution of this contested matter may require an evidentiary hearing. Movant estimates the hearing will
       proceed as follows:
       a. The Debtor maintains that she periodically occupies the property as her residence; the Trustee, upon
            information and belief, alleges that the Debtor has not occupied the property for some time. The parties may
            need to establish through the testimony of the Debtor if she actually occupies the property.
       b. A hearing on this matter would likely take half a day;
       c. The parties anticipate one to two witnesses to testify- the Debtor, and possibly the Debtor’s partner;
       d. The parties do not anticipate that they will require testimony from experts; and
       e. The Debtor has already provided the Trustee with a detailed travel schedule for the Debtor over the past three
            years, and bank statements for the past six months. The Parties may need to exchange a few additional
            documents, and the Trustee may request that the Debtor explain perceived discrepincies between the bank
            statements and the travel schedule, likely in interrogatory form.

Accordingly, Movant requests that the Court set this matter for hearing pursuant to L.B.R. 9013-1.


L.B.F. 9013-1.4 (12/17)                                                                                          Page 1
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 Part 2 Signature of Movant’s Attorney or Movant (if unpresented)

Dated: __7/18/2019_______________________                  By: /s/Benjamin R. Skeen________________
                                                               Signature

                                                           Bar Number (if applicable): _40043______
                                                           Mailing Address: 217 East 7th Ave. Denver, CO 80203
                                                           Telephone number: _720-593-6949_______
                                                           E-mail address: _brskeen@skeen-skeen.com______




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